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BRYAN J. FREEDMAN



May 29, 2025

Via ECF
Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street, Room 1620
New York, NY 10007

Re:     Lively v. Wayfarer Studios LLC et al., No. 1:24-cv-10049-LJL;
        rel. Wayfarer Studios LLC et al. v. Lively et al., No. 1:25-cv-00449-LJL

Dear Judge Liman:

Wayfarer Studios LLC, Justin Baldoni, Jamey Heath, Steve Sarowitz, It Ends With Us Movie
LLC, Melissa Nathan, and Jennifer Abel (collectively, the “Wayfarer Parties”) submit this
opposition to the letter motion (Dkt. 242, the “Motion”) of non-parties Equal Rights Advocates,
the California Employment Lawyers Association, and the California Women’s Law Center
(collectively, the “Organizations”) for leave to file a brief as amicus curiae in support of Blake
Lively’s Motion to Dismiss the Amended Complaint, which was fully briefed months ago.1 As
described below, the Court should deny the Organizations’ motion for leave to file an untimely,
partisan amicus brief that merely serves as a vehicle to renew Blake Lively’s (“Lively”) public
attacks against the Wayfarer Parties, repeat arguments previously made by Lively, and raise
issues that are irrelevant to the pending Motion to Dismiss. While the Wayfarer Parties respect
the three organizations seeking amici status, their brief fails to aid the Court in its task at the
pleading stage. If for any reason the Court grants the Organizations leave to file a brief, the
Wayfarer Parties should be permitted to file a responsive brief.

As an initial matter, the Organizations filed their belated Motion, “with Lively’s consent,” almost
two months after Lively’s Motion to Dismiss had been fully briefed, enabling Lively to resume
unwarranted attacks on the Wayfarer Parties with inflammatory comments to the press. The
Motion serves more as a publicity stunt for Lively than a useful aid for the Court at the pleading
stage.

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  Section 1(C) of Your Honor’s Individual Practices in Civil Cases does not include motions for leave to
file an amicus brief as a motion-type permissible by letter motion. Nonetheless, out of an abundance of
caution, the Wayfarer Parties respond in kind and within the two-day window for opposition.
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Regardless, the Motion should be denied because neither it nor the proposed brief satisfies the
limited conditions under which a district court may consider an amicus brief. “The circumstances
under which an amicus brief is considered to be an aid to the court are limited: ‘An amicus brief
should normally be allowed when a party is not represented competently or is not represented at
all, when the amicus has an interest in some other case that may be affected by the decision in
the present case . . . or when the amicus has unique information or perspective.’” Soos v. Cuomo,
470 F. Supp. 3d 268, 284 (N.D.N.Y. 2020). Where these circumstances do not exist, “leave to
file an amicus brief should be denied,” especially where “[t]he competence and skill of [a
party’s] counsel obviates the need for additional input.” Id. at 284-85; see also Lehman XS Tr.,
Series 2006-GP2 v. Greenpoint Mortg. Funding, Inc., No. 12 CIV. 7935 ALC, 2014 WL
265784, at *2 (S.D.N.Y. Jan. 23, 2014) (denying leave to file an amicus brief because it “would
not serve the limited purposes for which an amicus curiae might be useful.”). “There is no
inherent right to file an amicus curiae brief with the Court . . . particularly where the applicant’s
only concern is the manner in which this Court will interpret the law.” Long v. Coast Resorts,
Inc., 49 F. Supp. 2d 1177, 1178 (D. Nev. 1999).

The Organizations do not assert that Lively’s counsel is incompetent, nor do they identify any
“other case” that may be affected by this Court’s decision on Lively’s Motion to Dismiss.
Rather, the Organizations rely on their “unique perspective” as “drafters” and “champions” of
California Assembly Bill 933, which is another way of saying that the Organizations attempt to
provide disguised, premature, and inappropriate expert testimony at the pleading stage. As
observed by the Seventh Circuit, “[t]he vast majority of amicus curiae briefs are filed by allies of
litigants and duplicate the arguments made in the litigants’ briefs, in effect merely extending the
length of the litigant’s brief. Such amicus briefs should not be allowed. They are an abuse.” Ryan
v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th Cir. 1997) (“An amicus is to
be a friend of the Court, not a friend of a party.”); see also S.E.C. v. Bear, Stearns & Co. Inc.,
No. 03 CIV.2937 WHP, 2003 WL 22000340, at *6 (S.D.N.Y. Aug. 25, 2003) (citing United
States v. Gotti, 755 F. Supp. 1157, 1159 (E.D.N.Y. 1991) (an amicus should present its position
“as an objective, neutral, dispassionate ‘friend of the court.’”)); Long Island Soundkeeper Fund,
Inc. v. New York Athletic Club of City of New York, No. 94 CIV. 0436 (RPP), 1995 WL 358777,
at *1 (S.D.N.Y. June 14, 1995) (denying application for amicus status where movant “appear[ed]
to have its own particular interests in the outcome of the litigation[.]”); United States v. State of
Mich., 940 F.2d 143, 165 (6th Cir. 1991) (purpose of amici is “not to provide a highly partisan
account of the facts, but rather to aid the court in resolving doubtful issues of law[.]”).

While the Wayfarer Parties respect the work of the Organizations, they are not neutral “friends of
the court,” but rather advocates of specific policy interests that align not only with Lively’s
defensive posture, but also her affirmative claims against the Wayfarer Parties. See Jones v.
Becerra, No. 3:19-CV-01226-L-AHG, 2020 WL 8920621, at *1 (S.D. Cal. Jan. 14, 2020)
(denying leave to partisan advocacy group to file amicus brief because “its usefulness is
diminished at the trial level due to its obvious partisanship”).

In addition, the proposed brief raises issues that were not presented by Lively. See UPS, Inc. v.
Mitchell, 451 U.S. 56, 61 (1981) (declining to consider argument raised only by amicus and not
by parties); Olmsted v. Pruco Ins. Co., 281, F.3d 429, 436 (2d Cir. 2002) (court refused to
consider issue on appeal raised only by amicus); Universal City Studios, Inc. v. Corley, 272 F.3d
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429, 446 (2d Cir. 2001) (same principle). The proposed brief focuses on the need to avoid abuses
of discovery in sexual harassment cases, which is an issue that was not raised by Lively—who
did not move for a stay of discovery—and, in any event, is not applicable to this dispute given
Lively’s pending affirmative claims. Discovery is well underway, and these arguments are
inapposite.

Finally, the proposed brief violates the timing guidelines used by district courts for such briefs.
While the Federal Rules of Civil Procedure do not address the submission of amicus briefs,
district courts have looked for guidance to Rule 29 of the Federal Rules of Appellate Procedure,
which provides that an amicus brief and motion for leave must be filed “no later than 7 days after
the principal brief of the party being supported is filed.” Fed. R. App. P. 29(a)(6); see also Gotti,
755 F. Supp. at 1158 (applying Federal Rules of Appellate Procedure). The Organizations filed
their proposed brief more than two months after Lively filed her Motion to Dismiss—well
beyond the window outlined in the Federal Rules of Appellate Procedure. As the Wayfarer
Parties would need time to respond to the proposed brief, a decision on Lively’s Motion to
Dismiss would be further delayed by its inclusion, weighing against granting leave. See
Andersen v. Leavitt, No. 03-CV-6115 DRHARL, 2007 WL 2343672, at *2 (E.D.N.Y. Aug. 13,
2007) (“Since parties should have their ‘dispute resolved without any unnecessary delay,’ . . .
where the filing of an amicus curiae brief would cause such a delay, it should not be accepted.”).

For the foregoing reasons, and with all due respect to the prospective amici, the Court should
deny their Motion.


                                       Respectfully submitted,

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cc: all counsel of record (via ECF)
